                   IN THE UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF OHIO
                               EASTERN DIVISION

IN RE:                                          CASE NO 17-50236

DEBTOR                                          CHAPTER 7

LOUIS ANTHONY TELERICO                          JUDGE KOSCHIK

                                                NOTICE OF TRUSTEE’S INTENT TO
                                                SELL REAL ESTATE
                                                (BARRINGTON 2, LOT 133, .091
                                                ACRES OF VACANT LAND)




         TO ALL PARTIES IN INTEREST:

         PLEASE TAKE NOTICE, that Kathryn A. Belfance, Chapter 7 Trustee, in accordance

with the provisions of Rule 6004 of the Bankruptcy Rule of Procedure and 11 U.S.C. § 363,

gives notice to all creditors and parties in interest of an opportunity for hearing and of the

Trustee's intention to sell Louis Anthony Telerico’s (“Debtor”) interest in the real estate known

as Barrington 2, Lot 133, .091 acres of vacant land, more particularly described in “Exhibit A,”

attached hereto and incorporated herein (the “Real Estate”). The Trustee intends to sell the

Debtor’s interest in the Real Estate to Trevor M. Cost, Trustee of the Trevor M. Cost Revocable

Trust dated September 2, 2009, for the sum of One Hundred Forty Thousand and 00/100 Dollars

($140,000.00) pursuant to the purchase agreement attached hereto as “Exhibit B”, which was

signed by the Debtor after the appointment of the Trustee but which the Trustee accepts with the

exception that conveyance of said property to the buyer shall be by Trustee’s Deed and will be

sold without any representations or warranties by the Trustee.

         The Trustee submits that the sale of Debtor’s interest in the Real Estate is for the highest

and best price obtainable.




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         Sale of said property shall be sold free and clear of all liens, encumbrances, and expenses

of sale, and the proceeds derived therefrom shall be distributed to Kathryn A. Belfance, Trustee,

to be held and administered by her for the benefit of the Debtor’s estate.

         All third party interests or liens of any kind shall transfer to the proceeds resulting from

the sale, and after payment of commissions and any such other expenses related to the aforesaid

sale, a final determination as to the validity, priority and the amount of said liens or third party

interests shall be determined by the Court upon notice and hearing to all parties.

         Such sale of the Debtor’s interest in the Real Estate shall occur on or after 21 days from

the date of the notice hereof unless objection and request for a hearing is made as set forth

below.

         There being no just reason for delay, the Certificate of No Objection shall be entered as a

final confirmation of sale upon the docket of the Court.

         OBJECTIONS NOT TIMELY FILED AND SERVED SHALL BE DEEMED

WAIVED.

                                                Respectfully submitted,


                                                /s/ Kathryn A. Belfance
                                                KATHRYN A. BELFANCE (0018035)
                                                50 S. Main Street, 10th Floor
                                                Akron, Ohio 44308
                                                (330) 434-3000
                                                (330) 434-9220 Fax
                                                kb@rlbllp.com
                                                Chapter 7 Trustee




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   NOTICE OF TRUSTEE’S NOTICE OF INTENT TO SELL REAL ESTATE


       Kathryn A. Belfance, Chapter 7 Trustee, has filed papers with the Court to sell the
Debtor’s interest in the real estate known as Barrington 2, Lot 133, .091 acres of vacant land (the
“Real Estate”), to Trevor M. Cost, Trustee of the Trevor M. Cost Revocable Trust dated
September 2, 2009.

       Your rights may be affected. You should read these papers carefully and discuss
them with your attorney, if you have one in this bankruptcy case. (If you do not have an
attorney, you may wish to consult one.)

       If you do not want the court to allow the sale, or if you want the court to consider
your views on the sale, then on or before twenty-one (21) days, or such other time fixed by
the Federal Rules of Bankruptcy Procedure or statute or as the Court may order, after
service is filed and serve a response or request for hearing. If no response or request for
hearing is timely filed with the Court and served upon counsel for the movant, the Court
may grant the relief requested in the notice without a hearing.

       If you do not want the court to allow the sale without holding a hearing, or if you want
the court to consider you views on the sale, then on or before June 6, 2019, you or your attorney
must:

               File with the court a written objection or response to:

                            Clerk, United States Bankruptcy Court
                                     2 South Main Street
                                      Akron, OH 44308

       If you mail your Objection to the court for filing, you must mail it early enough so the
Court will receive it on or before the date stated above.

               You must also mail a copy to:

                                  Kathryn A. Belfance, Esq.
                                Roderick, Linton, Belfance LLP
                                 50 S. Main Street, 10th Floor
                                      Akron, Ohio 44308

        If you or your attorney do not take these steps, the court may decide that you do not
oppose the relief sought in the motion or objection and may enter an order granting that
relief without holding a hearing.

Date: May 16, 2019                    Signature: /s/ Kathryn A. Belfance
                                      Name: KATHRYN A. BELFANCE




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on this 16th day of May 2019, a true and correct copy of the Notice of
Trustee’s Intent to Sell Debtors’ Interest in Real Estate was served as follows:

Via the Court’s Electronic Case Filing System on these entities and individuals who are listed on
the Court’s Electronic Mail Notice List:

Office of the U.S. Trustee
Susan J. Lax, at susan.lax@hotmail.com
Frederic P. Schwieg, at fschwieg@schwieglaw.com
Todd A. Atkinson, at tatkinson@ulmer.com
Philip Leonard Bednar, at philip.l.bednar@usdoj.gov
Bryan J. Farkas, at bjfarkas@vorys.com
Scott D. Fink, at ecfndoh@weltman.com
Stephen R. Franks, at amps@manleydeas.com
Bryan T. Kostura, at bkostura@mcglinchey.com
Allison Manayan, at amanayan@portageco.com
Michael J. Occhionero, at mjocolpa@sbcglobal.net
James W. Sandy, at jsandy@mcglinchey.com
Richard P. Schroeter, at rschroeter@amer-collect.com
David J. Sternberg, at djsternberg@ameritech.net
Joshua Ryan Vaughan, at jvaughan@amer-collect.com
Steven L. Wasserman, at swasserman@westonhurd.com
Maria D. Giannirakis, ust06 maria.d.giannirakis@usdoj.gov
Scott R. Belhorn, ust35 Scott.R.Belhorn@usdoj.gov
Kathryn A. Belfance, Trustee, at kb@rlbllp.com

And by regular U.S. mail, postage prepaid, on:

Louis Anthony Telerico, Debtor, P.O. Box 928, Aurora, OH 44202
Also served at 545 Bristol Dr., Aurora, OH 44202
Daniel Miller, 221 Summit Street SE, North Canton, OH 44720
Deborah Nashmy, Blue Rock Select LLC, 7395 Center St, Mentor, OH 44060
PRA Receivables Management, LLC, PO Box 41021, Norfolk, VA 23541
Trevor M. Cost, 350 Aberdeen Lane, Aurora, OH 44202

All creditors listed on the matrix
                                             /s/ Kathryn A. Belfance
                                             KATHRYN A. BELFANCE (0018035)
                                             50 S. Main Street, 10th Floor
                                             Akron, Ohio 44308
                                             (330) 434-3000
                                             (330) 434-9220 Fax
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